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AO 199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release
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                                                                                      3                              3     Pages



                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                 Eastern District of California

UNITED STATES OF AMERICA,
                                                                          )
                              v.                                          )
                                                                          )             Case No.   1:22-cr-00267 JLT SKO
ANGEL SANCHEZ                                                             )


                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:                               United States District Courthouse
                                                                                         Place
                                                                2500 Tulare Street, Fresno CA 93721

      on                             December 14, 2022, at 2:00 PM, before Magistrate Judge Sheila K. Oberto
                                                                              Date and Time

      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered.



                  Release to the custody of Alexis Medina
                    on Monday, October 24, 2022
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 AO 199B (Rev. 09/08- EDCA [Fresno]) Additional Conditions of Release (Alternate A)                                                        Page 2 of      3 Pages


 SANCHEZ, Angel
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                                                ADDITIONAL CONDITIONS OF RELEASE

Upon finding that release by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other
persons and the community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

 ;     (6)       The defendant is placed in the custody of

                    Name of person or organization: Alexis Medina

          who agrees (a) to supervise the defendant in accordance with all conditions of release, (b) to use every effort to assure the appearance of the
          defendant at all scheduled court proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of
          release or disappears.

                    SIGNED: ________________________________
                                    CUSTODIAN

 ;     (7)       The defendant must:

       ;         (a)    report on a regular basis to the following agency:
                        Pretrial Services and comply with their rules and regulations;
       ;         (b)    report in person to the Pretrial Services Agency on the first working day following your release from custody;
       ;         (c)    You are released to the third-party custody of Alexis Medina;
       ;         (d)    cooperate in the collection of a DNA sample;
       ;         (e)    restrict your travel to the Eastern District of California, unless otherwise approved in advance by the pretrial services officer;
       ;         (f)    refrain from any use of alcohol and any use of a narcotic drug or other controlled substance without a prescription by a licensed
                        medical practitioner; and you must notify Pretrial Services immediately of any prescribed medication(s). However, medicinal
                        marijuana prescribed and/or recommended may not be used;
       ;         (g)    submit to drug testing as approved by the pretrial services officer. You must pay all or part of the costs of the testing services based
                        upon your ability to pay, as determined by the pretrial services officer;
       ;         (h)    not apply for or obtain a passport or any other travel documents during the pendency of this case;
       ;         (i)    not possess, have in your residence, or have access to a firearm/ammunition, destructive device, or other dangerous weapon;
                        additionally, you must provide written proof of divestment of all firearms/ammunition currently under your control;
       ;         (j)    not associate or have any contact with the Bulldogs gang or any known gang members;
       ;         (k)    not associate or have any contact with any codefendants or witnesses in this case, unless in the presence of counsel;
       ;         (l)    report any contact with law enforcement to your pretrial services officer within 24 hours;
       ;         (m)    participate in the substance abuse treatment program at WestCare, impatient facility, and comply with all the rules and regulations
                        of the program. You must remain at the impatient facility until released by the pretrial services officer;
       ;         (n)    A responsible party, approved by Pretrial Services, must escort you to all required court hearings and escort you back to the inpatient
                        facility upon completion of the hearing;
       ;         (o)    Upon successful completion of residential treatment, you must reside with Alexis Medina and not move or absent yourself from this
                        residence for more than 24 hours without the prior approval of the pretrial services officer;
       ;         (p)    Upon successful completion of residential treatment, you must participate in a program of medical or psychiatric treatment, including
                        treatment for drug or alcohol dependency, as approved by the pretrial services officer. You must pay all or part of the costs of the
                        counseling services based upon your ability to pay, as determined by the pretrial services officer;
       ;         (q)    Upon successful completion of residential treatment, you must seek and/or maintain employment and provide proof of same as
                        requested by your pretrial services officer;
       ;         (r)    On December 14, 2022, you must appear before the Court for a status conference hearing, to determine any additional special
                        conditions of release; and
       ;         (s)    Your release bond is delayed until October 24, 2022, at which time you shall report immediately to the Pretrial Services office in
                        Fresno, for an intake appointment. Immediately thereafter, your third-party custodian will transport you directly to WestCare.




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X

    10/21/2022




                                      Sheila K. Oberto, U.S. Magistrate Judge
